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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                               Filed Electronically: June 21, 2018

 IDEKER FARMS, INC., et al.,               )
                                           )
                Plaintiffs,                )     Case No.: 1:14-cv-00183-NBF
        v.                                 )
                                           )     Senior Judge Nancy B. Firestone
 UNITED STATES OF AMERICA,                 )
                                           )
                Defendant.                 )


 UNITED STATES’ RESPONSE TO PLAINTIFFS’ MOTION FOR LEAVE TO FILE A
COMBINED REPLY TO THE UNITED STATES’ RESPONSE TO PLAINTIFFS’ BRIEF
 REGARDING THE IMPACT OF ST. BERNARD PARISH ON PLAINTIFFS’ MOTION
   FOR RECONSIDERATION AND SURREPLY TO UNITED STATES’ REPLY IN
           SUPPORT OF ITS MOTION FOR RECONSIDERATION

       The United States files this response to Plaintiffs’ motion for leave to file an additional

brief, dated June 18, 2018. See Pls.’ Mot. for Leave to File a Combined Reply to the United

States’ Resp. to Pls.’ Br. Regarding the Impact of St. Bernard Parish on Pls.’ Mot. for Recons.

and Surreply to United States’ Reply in Supp. of its Mot. for Recons. (“Plaintiffs’ Motion”), ECF

No. 443. Plaintiffs’ Motion seeks permission to file a 20-page brief that will serve as the fourth

brief supporting its motion for reconsideration (ECF No. 429) and as a sur-reply to the United

States’ motion for reconsideration (ECF No. 436). Id. ¶7. While the United States does not

agree with Plaintiffs’ reasoning, the United States does not oppose Plaintiffs’ Motion. The

United States requests, however, that if the Court grants Plaintiffs’ Motion, that the Court allow

the United States to file a brief to respond to any new arguments raised by Plaintiffs.

       Here the United States is the movant for its motion for reconsideration and it should have

the opportunity to respond to any new arguments raised by Plaintiffs. The issue is not who has

the burden of proof on causation, as suggested by Plaintiffs, the issue is who is the movant for

the last-filed motion for reconsideration—the United States. See Pls.’ Mot. ¶¶ 5-6. Plaintiffs
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already filed a response to the United States’ motion for reconsideration and the United States

filed a reply in which it simply responded to the various arguments advanced by Plaintiffs. See

ECF No. 442. In this situation, sur-replies “are highly disfavored” because they are normally

made by non-movants in an attempt to “have the last word on a matter.” See, e.g., Am. Safety

Council, Inc. v. United States, 122 Fed. Cl. 426, 431 (2015) (quoting Lacher v. West, 147 F.

Supp. 2d 538, 539 (N.D. Tex. 2001)). That appears to be the case here. See Pls.’ Mot. ¶ 5

(opining that it is improper for the United States “to have the last word”). And the United States

anticipates that Plaintiffs may advance new arguments. For example, Plaintiffs suggested in

their last response brief that they reserved “the right to argue that the analysis of [St. Bernard

Parish] is misguided.” ECF No. 440 at 1 n.1. This is not an argument currently before the

Court. Should Plaintiffs raise that argument, or any other issue or argument not already

addressed by the United States, the United States requests the opportunity to respond in advance

of oral argument.

Respectfully submitted June 21, 2018.
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